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10                             UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12
13    THE PEOPLE OF THE STATE OF               No. 3:17-cv-7106-SK
      CALIFORNIA,
14
                      Plaintiff,
15
              v.
16
      UNITED STATES DEPARTMENT OF
17    EDUCATION, et al.,
18                    Defendants.
19
20    MARTIN CALVILLO MANRIQUEZ, et al.,       No. 3:17-cv-7210-SK
21
                      Plaintiffs,
22                                             JOINT STATUS REPORT
              v.
23
      UNITED STATES DEPARTMENT OF
24    EDUCATION, et al.,

25                    Defendants.

26
27
28



     Joint Status Report
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 1          The parties hereby submit the following status report in response to the Court’s July 12,
 2   2022 order.
 3          The parties continue to work in good faith towards resolving these cases without further
 4   litigation. On June 1, 2022, the Department of Education announced that it will “discharge all
 5   remaining federal student loans borrowed to attend any campus owned or operated by Corinthian
 6   Colleges Inc. (Corinthian) from its founding in 1995 through its closure in April 2015.” See
 7   https://www.ed.gov/news/press-releases/education-department-approves-58-billion-group-
 8   discharge-cancel-all-remaining-loans-560000-borrowers-who-attended-corinthian-colleges. The
 9   announced action will provide relief to approximately 560,000 borrowers, regardless of whether
10   any such borrower has filed a borrower defense application. Id. The Department is currently
11   engaged in the process of effectuating this announced relief for all eligible borrowers who
12   submitted borrower defense applications, and it continues to work with its servicers to put into
13   place the operational steps necessary to effectuate the announced relief for eligible borrowers who
14   did not apply for borrower defense discharges.
15          The parties believe this group discharge will likely resolve outstanding issues in their
16   settlement negotiations, and continue to analyze the full impact of the group discharge on their
17   efforts to resolve this litigation. The parties believe that additional time would be beneficial to
18   allow them to continue their review and discussions. Accordingly, the parties respectfully request
19   that the Court set a further deadline for a status report in 60 days.
20   Dated: September 12, 2022                          Respectfully submitted,
21                                                      BRIAN D. NETTER
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22
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23                                                      Assistant Branch Director
24                                                      /s/ R. Charlie Merritt
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